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                            IN THE UNITED STATES DISTRICT COURT 
                            FOR THE NORTHERN DISTRICT OF TEXAS 
                                      DALLAS DIVISION 


MATTHEW  MAYNARD,  individually,                                § 
and  on  behalf  of  Maynard  Investment                        § 
Group,  LLC,  d/b/a  Discount  Sport                                                  
                                                                § 
Nutrition,                                                                            
                                                                § 
                                                  Plaintiff,         Civil Action No. 3:18‐cv‐00259‐D 
                                                                § 
                                                                                      
                                                                § 
v.                                                                                    
                                                                § 
                                                                                      
                                                                § 
PAYPAL, INC., and PAYPAL HOLDINGS,                              § 
INC.,                                                           § 
                                                  Defendants.


                        PROPOSED JOINT SCHEDULING PROPOSAL 


                  An  initial  in‐person  conference  was  held  on  February  26,  2018  between 
Jeffrey  Duffey,  counsel  for  Plaintiff,  and  P.  William  Stark  and  Jordan  Cowman,  counsel 
for  Defendants,  to  confer  on  matters  specified  in  Rule  26(f)(2)  and  this  Court’s  Order 
entered on February 5, 2018. As a result of that conference, and in compliance with Rule 
26(f)(2)  and  the  Order,  the  Parties  submit  the  following  Proposed  Joint  Scheduling 
Proposal.  


       I.         PROPOSED DEADLINES 

                  Plaintiff’s Position: 

                  1.        Deadline to join other parties:  April 30, 2018;  

                  2.        Deadline to amend the pleadings: April 30, 2018; 

                  3.        Deadline to file motions, including summary judgment and other 
                            dispositive motions: 60 days before trial; 

                  4.        Deadline to complete discovery: 90 days before trial; 



 
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               5.      Deadline to designate expert witnesses and rebuttal expert 
                       witnesses and make the expert disclosures required by Rule 
                       26(a)(2): 150 days before trial to designate expert witnesses and 120 
                       days before trial to designate rebuttal expert witnesses; 

               6.      Final Pretrial conference date:  September 17, 2018; 

               7.      Trial date: October 1, 2018 (with an estimated trial length of 4‐5 
                       days). 

               Defendants’ Position:  All proceedings in this case should be stayed, and all 
deadlines should be determined and set in arbitration as required by the express terms of 
the Parties’ Agreement to Arbitrate that is contained in the PayPal User Agreement as set 
forth  in  Defendants’  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  9]  and 
Defendants’  Brief  and  Memorandum  in  Support  of  Motion  to  Stay  Proceedings  and 
Compel  Arbitration  [Dkt.  11].    Should  proceedings  continue  in  this  case  after  a  final 
determination denying Defendants’ Motion to Stay Proceedings and Compel Arbitration 
[Dkt. 9], Defendants request a trial date no earlier than January 14, 2019 since counsel for 
Defendants already has multiple trial settings throughout the summer and fall of 2018. 


     II.       MATTERS LISTED IN RULE 26(F)(3)(A)‐(F) (DISCOVERY PLAN) 

               1.      Deadline to provide required disclosures under Rule 26(a): 

               Plaintiff’s position: March 30, 2018. 

               Defendants’  Position:    Defendants  object  that  initial  disclosures  are  not 
appropriate at this time.  Disclosures under Rule 26(a) should be made only in the event 
that  proceedings  continue  in  this  case  after  a  final  determination  denying  Defendants’ 
Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  9],  in  which  case,  such 
disclosures  should  be  made  within  twenty‐one  (21)  days  following  such  final 
determination denying Defendants’ Motion to Stay Proceedings and Compel Arbitration 
[Dkt. 9].   

               2.      The subjects on which discovery may be needed and whether 
                       discovery should be conducted in phases or be limited to or 
                       focused on particular issues: 
 
PROPOSED JOINT SCHEDULING PROPOSAL                                                     PAGE 2 OF 9 
                                                                                          
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                 Parties’ Position: Discovery should not be conducted in phases and should 
only be limited to or focused on particular issues as required under Federal Law.  

                 Plaintiff’s Position: Defendants still have not answered Plaintiff’s Original 
Petition. Therefore, Plaintiff believes it is a bit premature at this time to discuss subjects of 
discovery  with  any  real  specificity.  Generally  speaking,  however,  Plaintiff  intends  to 
conduct  discovery  on  those  subjects  directly  or  indirectly  related  to  the  facts  and 
allegations  contained  in  Plaintiff’s  Original  Petition.  Such  information  may  include  the 
following: 

       Evidence  within  Defendants’  control  related  to  Plaintiff’s  claim  that  he  did  not 
agree  to arbitrate his  claims against PayPal. Indeed,  Plaintiff  claims  he was  never  made 
aware  of  the  fact  that  Defendants  unilaterally  added  an  arbitration  agreement  to  their 
User Agreement, and thus he could not have provided his assent; 

       All communications (written, spoken, or otherwise) that have taken place between 
Plaintiff and Defendant(s);  

       All  internal  communications  undertaken  by  Defendants  from  April  2017  to  the 
present time as they relate to Plaintiff’s User Account; 

       Defendants’ policies and handbooks related to their customer service and dispute 
resolution;   

       Defendants’ policies and handbooks related to fraud detection; and  

       Statistics revealing how many fraudulent users Defendants have identified in the 
last  5  years  and  what  actions  Defendants  took  against  the  users  upon  discovering  the 
account was being used fraudulently or maliciously. 

       Defendants’ Position:  All discovery issues should be determined in arbitration as 
required by the express terms of the Parties’ Agreement to Arbitrate that is contained in 
the PayPal  User Agreement as set forth  in  Defendants’ Motion  to Stay  Proceedings  and 
Compel  Arbitration  [Dkt.  9]  and  Defendants’  Brief  and  Memorandum  in  Support  of 



 
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Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  11].    All  proceedings  in  this 
case should be stayed. 

               3.      Issues about disclosure, discovery, or preservation of electronically 
                       stored information, including the form or forms in which it should 
                       be produced: 

               The parties agree in good faith to preserve all relevant electronically stored 
information  through  the  final  resolution  of  in  this  case.    The  parties  agree  to  take  all 
reasonable  measures  to  preserve  potentially  discoverable  physical  documents  and 
electronic  data  from  alteration  or  destruction  in  the  ordinary  course  of  business  or 
through intentional spoliation since the filing of this lawsuit. 

               Plaintiff’s  Position:  Plaintiff  will  seek  any  electronic  or  computer‐based 
data  and  information  relating  to  Plaintiff’s  User  Account,  in  addition  to  all  electronic 
information referencing or constituting communication between the Defendants and the 
Plaintiffs maintained by Defendants.  

               Plaintiff  will  seek  the  discovery  of  relevant  information  in  electronic  (e.g. 
PDF, TIF), native format and demands preservation of same.  

               Defendants’  Position:    Issues  regarding  the  disclosure  of  electronically 
stored information, including, but not limited to, the form or forms in which it should be 
produced,  should  be  determined  in  arbitration  as  required  by  the  express  terms  of  the 
Parties’  Agreement  to  Arbitrate  that  is  contained  in  the  PayPal  User  Agreement  as  set 
forth  in  Defendants’  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  9]  and 
Defendants’  Brief  and  Memorandum  in  Support  of  Motion  to  Stay  Proceedings  and 
Compel Arbitration [Dkt. 11].  All proceedings in this case should be stayed. 

                

               4.      Any issues about claims of privilege or of protection as trial‐
                       preparation materials, including—if the parties agree on a 
                       procedure to assert these claims after production—whether to ask 
                       the court to include their agreement in an order under Federal Rule 
                       of Evidence 502: 

 
PROPOSED JOINT SCHEDULING PROPOSAL                                                          PAGE 4 OF 9 
                                                                                              
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               Plaintiff’s Position: Plaintiff does not anticipate any issues about claims of 
privilege or of protection as trial‐preparation materials. 

               Defendants’  Position:    All  discovery  issues,  including,  but  not  limited  to, 
any issues about claims of privilege or of protection as trial‐preparation materials, should 
be determined in arbitration as required by the express terms of the Parties’ Agreement to 
Arbitrate  that  is  contained  in  the  PayPal  User  Agreement  as  set  forth  in  Defendants’ 
Motion  to  Stay  Proceedings and Compel Arbitration [Dkt. 9] and Defendants’  Brief and 
Memorandum  in  Support  of  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt. 
11].  All proceedings in this case should be stayed. 

               Should proceedings continue in this case after a final determination denying 
Defendants’  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  9],  Defendants 
propose that there shall not be any waiver of the attorney‐client privilege, attorney work 
product,  or  any  other  privilege  (“Protected  Materials”)  should  there  be  an  inadvertent 
disclosure of privileged information contained in ESI produced in response to a discovery 
request, as provided for by Fed. R. Civ. P. 26.  Defendants propose that the parties take 
reasonable steps to protect against inadvertent disclosure of Protected Materials and that 
any party that discovers that it has sent or received Protected Materials shall immediately 
notify  the  opposing  party(ies)  so  that  the  appropriate  steps  to  return  or  destroy  the 
Protected  Materials  may  be  taken.    Defendants  propose  that  the  parties  shall  be 
specifically afforded the protections of Fed. R. Evid. 502(d) and (e). 

               5.      What changes should be made in the limitations on discovery 
                       imposed under these rules or by local rule, and what other 
                       limitations should be imposed: 

               Plaintiff’s Position: No limitations are necessary. 

               Defendants’  Position:    All  discovery  issues,  including,  but  not  limited  to, 
any limitations, should be determined in arbitration as required by the express terms of 
the Parties’ Agreement to Arbitrate that is contained in the PayPal User Agreement as set 
forth  in  Defendants’  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  9]  and 
Defendants’  Brief  and  Memorandum  in  Support  of  Motion  to  Stay  Proceedings  and 
Compel Arbitration [Dkt. 11].  All proceedings in this case should be stayed. 


 
PROPOSED JOINT SCHEDULING PROPOSAL                                                       PAGE 5 OF 9 
                                                                                           
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                6.     Any other orders that the court should issue under Rule 26(c) or 
                       under Rule 16(b) and (c): 

                The Parties request that the Court not issue any orders under Rule 26(c) or 
Rule 16(b)‐(c).  

                Plaintiff’s Position: Plaintiff requests the Court grant Plaintiff’s request for 
injunctive relief before deciding on Defendant’s Motion to Compel Arbitration. Pursuant 
to  the  Court’s  Order  (“Preliminary  Injunction  Order”)  entered  on  February  5,  2018, 
Plaintiff will file his supporting materials and a separate brief by March 9, 2018.  

                Plaintiff opposes the issuance of a protective order at this early stage of the 
case.  Plaintiff  is  open  to  discussing  the  potential  for  a  joint  protective  order  should  the 
need arise.  

                Defendants’  Position:    Plaintiff’s  request  for  injunctive  relief  should  be 
determined  in  arbitration  as  required  by  the  express  terms  of  the  Parties’  Agreement  to 
Arbitrate  that  is  contained  in  the  PayPal  User  Agreement  as  set  forth  in  Defendants’ 
Motion  to  Stay Proceedings  and Compel Arbitration [Dkt.  9]  and  Defendants’  Brief and 
Memorandum  in  Support  of  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt. 
11].  All proceedings in this case should be stayed. 

                Should proceedings continue in this case after a final determination denying 
Defendants’  Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  9],  Defendants 
request  that  the  Court  enter  a  protective  order  to  protect  confidential,  proprietary,  and 
private information from public disclosure. 

                 


    III.        STATEMENT REGARDING MAGISTRATE 

                The  parties  do  not  consent  to  referring  this  case  to  a  magistrate  judge  for 
jury or nonjury trial. 


    IV.         STATEMENT REGARDING ALTERNATIVE DISPUTE RESOLUTION 



 
PROPOSED JOINT SCHEDULING PROPOSAL                                                           PAGE 6 OF 9 
                                                                                                
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               The Parties both acknowledge that Defendants’ Motion to Stay Proceedings 
and Compel Arbitration is currently before the Court.  

               Plaintiff’s  Position:  Plaintiff  vigorously  opposes  referring  this  case  for 
alternative  dispute  resolution.  It  is  relevant  here  to  point  out  that  Plaintiff’s  brief 
opposing  Defendants’  current  Motion  to  Compel  Arbitration  will  be  filed  on  March  5, 
2018.  Plaintiff  would,  however,  be  willing  to  consider  a  court‐supervised  settlement 
conference after some discovery has progressed.               

               Defendants’  Position:    This  case  should  be  compelled  to  arbitration  as 
required by the express terms of the Parties’ Agreement to Arbitrate that is contained in 
the PayPal User Agreement as set  forth  in  Defendants’ Motion to Stay  Proceedings  and 
Compel  Arbitration  [Dkt.  9]  and  Defendants’  Brief  and  Memorandum  in  Support  of 
Motion  to  Stay  Proceedings  and  Compel  Arbitration  [Dkt.  11].    All  proceedings  in  this 
case should be stayed. 


     V.        STATEMENT REGARDING LOCAL COUNSEL 

               Plaintiff’s  counsel  has  informed  the  Court  that  he  wishes  to  remove  local 
counsel of record from case. 

               Local counsel for Plaintiff has not yet entered an appearance.   On February 
7, 2018, Jeffrey Duffey, counsel for Plaintiff, filed his Application for Admission Pro Hac 
Vice [Dkt. 7], identifying Robert L. Greeson, 2200 Ross Avenue, Suite 3600, Dallas, Texas 
75201,  (214)  855‐7430,  as  the  “local  counsel  of  record  associated  with  Applicant  in  this 
matter.”  Mr. Greeson has not entered an appearance. 


    VI.        STATEMENT REGARDING CERTIFICATE OF INTERESTED 
               PERSONS 

               Defendants  filed  their  Corporate  Disclosure  Statements  and  Certificates  of 
Interested Parties [Dkts. 3 and 4] on February 1, 2018. 

                ____________                                  

        

 
PROPOSED JOINT SCHEDULING PROPOSAL                                                        PAGE 7 OF 9 
                                                                                            
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                                          Respectfully submitted,          

                                          THE LAW OFFICE OF JEFFREY R. DUFFEY, PLLC 

                                          /s/ Jeffrey R. Duffey                         
                                          JEFFREY R. DUFFEY                             
                                          Texas Bar Card No. 24101712                   
                                          jeff@jrduffeylaw.com                          
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                                          Dallas, Texas 75206                           
                                          Office: (214) 504‐6692                        
                                                                                        
                                          Attorney for Plaintiff, Matthew Maynard 



                                          GREENBERG TRAURIG LLP 

                                          /s/ P. William Stark                   
                                          Jordan W. Cowman                              
                                             State Bar No. 04932800                      
                                             cowmanj@gtlaw.com                          
                                          P. William Stark                              
                                             Texas State Bar No. 24046902               
                                             starkb@gtlaw.com                    
                                          Bina B. Palnitkar                             
                                             State Bar No. 20470378                     
                                             palnitkarb@gtlaw.com                
                                          2200 Ross Avenue, Suite 5200           
                                          Dallas, Texas 75201              
                                          Telephone: (214) 665‐3600              
                                          Facsimile: (214) 665‐3601 

                                          Attorneys for Defendants PayPal, Inc. and 
                                          PayPal Holdings, Inc.                         
                                                                           

 
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                                   CERTIFICATE OF SERVICE 


               I  hereby  certify  that  on  March  5,  2018,  I  electronically  filed  the  foregoing 
document  with  the  Clerk  of  the  Court  through  the  CM/ECF  system,  which  will  send 
notices of electronic filing to all counsel of record. 

                

                                                      /s/ P. William Stark                    
                                                      P. William Stark 

                

                

                




 
PROPOSED JOINT SCHEDULING PROPOSAL                                                          PAGE 9 OF 9 
                                                                                              
